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                                                                               (SPACE BELOW FOR FILING STAMP ONLY)

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 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10                                                ******

11   UNITED STATE OF AMERICA,                             Case No.: 1:09CR0339 OWW

12                         Plaintiff,
                                                                  STIPULATION RE:
13                 v.                                        CONTINUANCE OF SENTENCING

14   SALVADOR GUTIERREZ MACHUCA,                                                and
15                         Defendant.                                        ORDER
16

17             IT IS HEREBY STIPULATED by and between the parties herein that the Sentencing
18   currently scheduled for February 7, 2011, at 1:30 p.m. be continued to March 14, 2011, at 1:30
19   p.m. before the Honorable OLIVER W. WANGER.
20             This request is based upon the fact that counsel needs additional time for preparation of
21   further pleadings which shall be filed with the Court during the week of February 28, 2011.
22   Further, this request is made because the United States Attorney’s agent who is seeking
23   additional information from the Defendant had been unavailable.
24             Counsel’s staff has been in touch with Ms. Karen Escobar of the United States
25   Attorney’s Office, who has no objection to such a continuance.
26             It is your Declarant’s opinion that a continuance such as requested shall not prejudice
27   any party concerned with this matter.
28   \\\\

                                                      1       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
                       Case 1:09-cr-00339-LJO Document 103 Filed 02/02/11 Page 2 of 2
 1                         DATED: January 31, 2011.     Respectfully submitted.

 2                                                               NUTTALL & COLEMAN

 3                                                         BY:    /s/ Roger D. Wilson
                                                                 ROGER D. WILSON
 4                                                               Attorneys for Defendant
 5                                                               SALVADOR GUTIERREZ MACHUCA

 6
                              DATED: January 31, 2011.
 7
                                                           BY:    /s/ Karen Escobar
 8                                                               KAREN ESCOBAR
                                                                 Assistant United States Attorney
 9

10                                                         ***************
11                                                           ORDER
12

13                            Good cause appearing,
14                            IT IS ORDERED that the Sentencing currently scheduled for February 7, 2011, at 1:30
15   p.m. is continued to March 14, 2011, at 1:30 p.m.
16

17

18   IT IS SO ORDERED.

19                         Dated:   February 1, 2011                         /s/ Oliver W. Wanger
20   DEAC_Signature-END:
                                                                      UNITED STATES DISTRICT JUDGE

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                                                                  2       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
